     CASE 0:10-cr-00195-JNE-JJK    Doc. 112   Filed 04/15/11   Page 1 of 3



                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                        Criminal No. 10-195 (JNE/JJK)

UNITED STATES OF AMERICA,                )
                                         )
                          Plaintiff,     )
                                         )     PRELIMINARY ORDER
                   v.                    )     OF FORFEITURE
                                         )
1.   RICHARD A. SAND,                    )
                                         )
                          Defendant.     )



      Based on the United States’ motion for a Preliminary Order of

Forfeiture; on the Plea Agreement entered into between the United

States and Defendant Richard A. Sand; on the Court having found

that certain property is subject to forfeiture pursuant to 18

U.S.C. § 981(a)(1)(C), in conjunction with 28 U.S.C. § 2461(c), and

pursuant 18 U.S.C. § 982(a)(1); and on the Court’s determination

that, based on the Plea Agreement entered into by the defendant and

based on all of the files and records of this proceeding, the

government   has    established    the   requisite    nexus    between       such

property and the offenses to which the defendant has pled guilty,

      IT IS HEREBY ORDERED that:

      1.   The motion of the United States for a preliminary order

of forfeiture is GRANTED;

      2.   The following real property is forfeited to the United

States pursuant to 18 U.S.C. § 981(a)(1)(C), in conjunction with 28

U.S.C. § 2461(c), and pursuant 18 U.S.C. § 982(a)(1): the real

property located at 168 Nina Street, St. Paul, Minnesota (Parcel
     CASE 0:10-cr-00195-JNE-JJK   Doc. 112   Filed 04/15/11   Page 2 of 3



No. 01.28.23.12.0291), Certificate of Title No. 389565, and legally

described as:

     That part of Lot 8, Auditors Subdivision No. 52, Ramsey
     County, Minnesota, lying Southerly of the following
     described line: commencing at the Northwest corner of
     said Lot 8; thence south 0 degrees 03 minutes 23 seconds
     East, bearing assumed, along the Westerly line of said
     Lot 8, a distance of 28.75 feet to the point of
     beginning: thence North 89 degrees 25 minutes 30 seconds
     East, a distance of 90.27 feet; thence South 0 degrees 31
     minutes 30 seconds East, a distance of 1.91 feet; thence
     North 89 degrees 28 minutes 30 seconds East, a distance
     of 6.75 feet to the Easterly line of said Lot 8 and there
     terminating, Ramsey County, Minnesota, Abstract Property.
     AND Tracts B and F, Registered Land Survey No. 345 Files
     of Register of Titles, County of Ramsey, Minnesota;

     3.   The United States may seize the foregoing property and

maintain custody and control of the property pending the entry of

a Final Order of Forfeiture;

     4.   The   United   States    shall,    pursuant    to   21   U.S.C.   §

853(n)(1), as incorporated by 18 U.S.C. § 982(b)(1) and by 28

U.S.C. § 2461(c), publish and give notice of this Order and its

intent to dispose of the foregoing property in such manner as the

Secretary of the Treasury may direct;

     5.   Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B), this

Preliminary Order of Forfeiture shall become final as to the

defendant at the time of sentencing, and shall be made a part of

the sentence and included in the judgment;

     6.   Following the Court’s disposition of all petitions filed

pursuant to 21 U.S.C. § 853(n)(2) or, if no petitions are filed,

following the expiration of the time period specified within which

                                    2
     CASE 0:10-cr-00195-JNE-JJK   Doc. 112   Filed 04/15/11   Page 3 of 3



to file such petitions, the United States shall have clear title to

the foregoing property and may warrant good title to any subsequent

purchaser or transferee; and

     7.    This Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary pursuant to Fed. R. Crim. P.

32.2(e).

Dated:     4-15-2011              s/ Joan N. Ericksen
                                  Joan N. Ericksen, Judge
                                  United States District Court




                                    3
